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                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

IN RE:             KIM LINDSAY,                       :           Chapter 13
                                                      :
                                   Debtor             :           Bky. No. 22-10861 ELF

                        ORDER CONFIRMING PLAN UNDER CHAPTER 13

         AND NOW, upon consideration of the plan submitted by the debtor under chapter 13 of title
11 U.S.C. and the standing trustee's report which has been filed; and it appearing that:
                   A.      a meeting of creditors upon notice pursuant to 11 U.S.C. 341(a) and a
             confirmation hearing upon notice having been held;
                   B.      the plan complies with the provisions of 11 U.S.C. §§1322 and 1325 and with
             other applicable provisions of title 11 U.S.C.;
                   C.      any fee, charge or amount required under chapter 13 of title 28 or by the plan,
             to be paid before confirmation, has been paid;


         WHEREFORE, it is ORDERED that the plan is CONFIRMED, SUBJECT TO THE
FOLLOWING: With the consent of the Debtor, the Stipulation between AmeriCredit Financial
Services, Inc. dba GM Financial and the Debtor, approved by the court, (see Doc. # 72), overrides any
inconsistent provision of the plan.1




Date:    January 26, 2023
                                            ERIC L. FRANK
                                            U.S. BANKRUPTCY JUDGE




   1.    See In re Shafer, 99 B.R. 352, 355 (W.D. Mich. 1989); In re Brewery Park Associates, L.P., 2011
   WL 1980289, at *4 n.4 (Bankr. E.D. Pa. Apr. 29, 2011); see also In re T-H New Orleans Ltd. Partnership,
   188 B.R. 799, 809 (E.D. La. 1995) (court may condition confirmation on conditions that do not
   substantially alter the plan).
